CM/ECF - California Central District                                   https://cacd-ecf.sso.dcn/cgi-bin/DktRpt.pl?204337092677499-L_1_0-1
                  8:23-cr-00086-BCB-RCC         Doc # 97     Filed: 12/14/23         Page 1 of 3 - Page ID # 389

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                               UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                  CRIMINAL DOCKET FOR CASE #: 2:23-mj-06322-DUTY All Defendants


         Case title: USA v. Bregman                                           Date Filed: 12/12/2023

         Other court case number: 8:23cr86 District of Nebraska               Date Terminated: 12/12/2023


         Assigned to: Duty Magistrate Judge

         Defendant (1)
         Adam Ross Bregman                                  represented by Ijeoma Uchechi Eke
         REG 90970-510                                                     Federal Public Defender's Office
         TERMINATED: 12/12/2023                                            321 East 2nd Street
                                                                           Los Angeles, CA 90012-4206
                                                                           213-894-3107
                                                                           Fax: 213-894-0081
                                                                           Email: ijeoma_eke@fd.org
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Public Defender or
                                                                           Community Defender Appointment

         Pending Counts                                                          Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                       Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                              Disposition
         None




1 of 3                                                                                                              12/14/2023, 12:45 PM
CM/ECF - California Central District                                  https://cacd-ecf.sso.dcn/cgi-bin/DktRpt.pl?204337092677499-L_1_0-1
                  8:23-cr-00086-BCB-RCC           Doc # 97     Filed: 12/14/23     Page 2 of 3 - Page ID # 390

         Plaintiff
         USA                                                  represented by US Attorney's Office
                                                                             AUSA - Office of US Attorney
                                                                             Criminal Division - US Courthouse
                                                                             312 North Spring Street 12th Floor
                                                                             Los Angeles, CA 90012-4700
                                                                             213-894-2434
                                                                             Email: USACAC.Criminal@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Assistant US Attorney


          Date Filed          #   Docket Text
          12/12/2023          1 AFFIDAVIT RE: OUT-OF-DISTRICT WARRANT (Rule 5(c)(3)) filed as to defendant
                                Adam Ross Bregman, originating in the District of Nebraska. Defendant charged in
                                violation of: 21:846. Signed by agent K Sath, USMS, DUSM. USA. (mhe) (Entered:
                                12/14/2023)
          12/12/2023          2 REPORT COMMENCING CRIMINAL ACTION as to Defendant Adam Ross
                                Bregman; defendants Year of Birth: 1980; date of arrest: 12/12/2023 USMS# REG
                                90970-510 (mhe) (Entered: 12/14/2023)
          12/12/2023          3 NOTICE OF REQUEST FOR DETENTION filed by Plaintiff USA as to Defendant
                                Adam Ross Bregman (mhe) (Entered: 12/14/2023)
          12/12/2023          4 MINUTES OF ARREST ON OUT OF DISTRICT WARRANT held before Magistrate
                                Judge Charles F. Eick as to Defendant Adam Ross Bregman. Court issues Order under
                                Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations;see General Order
                                21-02 (written order). Defendant arraigned and states true name is as charged. Attorney:
                                Ijeoma Uchechi Eke for Adam Ross Bregman, Deputy Federal Public Defender, present
                                appointed for this hearing only. Government moves to unseal entire case: Granted.
                                Court orders bail set as: Adam Ross Bregman (1) $250,000 Appearance Bond, see
                                attached for terms and conditions. Defendant remanded to the custody or currently in
                                the custody of the US Marshal. Court orders defendant held to answer to District of
                                Nebraska. Bond to Transfer. Defendant ordered to report on 1/3/24 at 10:30am unless
                                notified by AUSA. Defendant is not to be transported so he fulfill obligations and bond
                                by 12/18/23. (mhe) (Entered: 12/14/2023)
          12/12/2023          5 FINANCIAL AFFIDAVIT filed as to Defendant Adam Ross Bregman. (Not for Public
                                View pursuant to the E-Government Act of 2002) (mhe) (Entered: 12/14/2023)
          12/12/2023          6 ASSERTION OF FIFTH AND SIXTH AMENDMENT RIGHTS filed by Defendant
                                Adam Ross Bregman (mhe) (Entered: 12/14/2023)
          12/12/2023          7 ADVISEMENT OF STATUTORY & CONSTITUTIONAL RIGHTS filed by
                                Defendant Adam Ross Bregman. (mhe) (Entered: 12/14/2023)
          12/12/2023          8 SEALED Defendant Adam Ross Bregman arrested on warrant issued by the USDC
                                District of Nebraska at Omaha. (Attachments: # 1 Charging Documents)(mhe) (Entered:
                                12/14/2023)




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CM/ECF - California Central District                                    https://cacd-ecf.sso.dcn/cgi-bin/DktRpt.pl?204337092677499-L_1_0-1
                  8:23-cr-00086-BCB-RCC           Doc # 97      Filed: 12/14/23      Page 3 of 3 - Page ID # 391

          12/12/2023          9 WAIVER OF RIGHTS approved by Magistrate Judge Charles F. Eick as to Defendant
                                Adam Ross Bregman. (mhe) (Entered: 12/14/2023)
          12/12/2023         10 DECLARATION RE: PASSPORT filed by Defendant Adam Ross Bregman, declaring
                                that I have been issued a passport or other travel document(s), but they are not currently
                                in my possession. I will surrender any passport or other travel document(s) issued to
                                me, to the U.S. Pretrial Services Agency by the deadline imposed. I will not apply for a
                                passport or other travel document during the pendency of this case. (mhe) (Entered:
                                12/14/2023)
          12/12/2023         11 MINUTES OF IN CHAMBERS MANDATORY RULE 5(f) ORDER by Magistrate
                                Judge Charles F. Eick as to Defendant Adam Ross Bregman (mhe) (Entered:
                                12/14/2023)
          12/12/2023              Notice to District of Nebraska of a Rule 5 or Rule 32 Initial Appearance as to Defendant
                                  Adam Ross Bregman. Your case number is: 8:23cr86. The clerk will transmit any
                                  restricted documents via email. Using your PACER account, you may retrieve the
                                  docket sheet and any text-only entries via the case number link. The following
                                  document link(s) is also provided: 4 Initial Appearance - Arrest on Out of District
                                  Warrant - Rule 5(c)(3) (fka Rule 40). If you require certified copies of any documents,
                                  please send a request to email address CrimIntakeCourtDocs-LA@cacd.uscourts.gov
                                  (mhe) (Entered: 12/14/2023)




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